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  IT IS ORDERED as set forth below:



  Date: May 12, 2017
                                                    _____________________________________
                                                               Wendy L. Hagenau
                                                          U.S. Bankruptcy Court Judge

_______________________________________________________________



                           IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION

      IN RE:
                                                    Case No. 16-57911-WLH
      BRYAN P. ELLIOTT,
                                                    Chapter 7
                 Debtor.


      RICHARD EUGENE WHITE,
                                                    Adversary Proceeding No. 16-05173
                Plaintiff,

      v.

      BRYAN P. ELLIOTT,

                Defendant.



               ORDER ON PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

       This matter is before the Court on Plaintiff Richard White’s (“Plaintiff”) Motion for

Summary Judgment (“Motion”) (Docket No. 9). This matter is a core proceeding pursuant to 28




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U.S.C. § 157(b)(2)(I), and the Court has jurisdiction over this proceeding under 28 U.S.C. §§ 157

and 1334.

                               PROCEDURAL BACKGROUND

       Defendant Bryan Elliott (“Defendant”) filed his voluntary petition under Chapter 7 of the

Bankruptcy Code on May 3, 2016. Plaintiff Richard White (“Plaintiff”) filed this Adversary

Proceeding on August 4, 2016 against Defendant.              In the complaint, Plaintiff seeks a

determination that a judgment he holds against Defendant from the Superior Court of Gwinnett

County is nondischargeable under 11 U.S.C. § 523(a)(2)(A) (“Complaint”). Plaintiff filed the

Motion arguing that the doctrine of collateral estoppel binds the Court to the Superior Court

judgment for fraud which should be sufficient to satisfy the dischargeability exception in section

523(a)(2)(A). Defendant filed a response arguing that the lack of specific factual findings in the

judgment and ambiguity with respect to the fraud pled in the complaint should preclude the

application of collateral estoppel (Docket No. 12).


                                     UNDISPUTED FACTS

       On December 22, 2008, Plaintiff filed a complaint in the Superior Court of Gwinnett

County against Level Path Investment Group, LLC, Prodigy Homes, LLC, Old Corn, LLC,

Richarch Floersheim, Richard Floersheim, Inc., and Defendant (together, “Superior Court

Defendants”) seeking damages for claims of fraud, breach of contract and violation of Georgia’s

RICO statute (“Superior Court Complaint”). The Superior Court Complaint alleged that Plaintiff

entered into certain contracts with the Superior Court Defendants for the purchase of a lot and

the construction of a custom-built home in a development known as Stone Creek at the

Reservoir. The Superior Court Complaint alleged further that the Superior Court Defendants

breached these contracts by using the funds paid by Plaintiff to facilitate the construction of other


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projects in the development rather than using the funds for the construction of Plaintiff’s house.

Plaintiff also alleged that he was fraudulently induced by the Superior Court Defendants to pay

funds purportedly for his house that were actually being used for separate infrastructure

development. The Superior Court held a non-jury trial on April 18, 2011, and subsequently

entered judgment in the amount of $423,851.04 in favor of Plaintiff against Defendant

individually on all theories set forth in the Superior Court Complaint (“Superior Court

Judgment”). Specifically, the Superior Court Judgment stated:

       Ordered that Plaintiff have Judgment against Defendant Bryan Elliott,
       individually, on all theories set forth in Plaintiff’s Complaint in the total sum of
       Four Hundred Twenty Three Thousand, Eight Hundred Fifty-One and 04/100
       Dollars ($423,851.04).

The judgment did not include findings of fact.


                                           ANALYSIS

Summary Judgment

       Summary judgment is appropriate when “the pleadings, depositions, answers to

interrogatories, and admissions on file, together with the affidavits, if any, show that there is no

genuine issue as to any material fact and that the moving party is entitled to a judgment as a

matter of law”. Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986); Fed. R. Civ. P. 56(c); Fed.

R. Bankr. P. 7056(c). “The substantive law [applicable to the case] will identify which facts are

material.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). The party moving for

summary judgment has the burden of proving there are no disputes as to any material facts.

Hairston v. Gainesville Sun Pub. Co., 9 F.3d 913, 918 (11th Cir. 1993). A factual dispute is

genuine “if the evidence is such that a reasonable jury could return a verdict for the nonmoving

party.” Anderson, 477 U.S. at 248.



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       Once this burden is met, the nonmoving party cannot merely rely on allegations or

denials in its own pleadings. Fed. R. Civ. P. 56(e). Rather, the nonmoving party must present

specific facts that demonstrate there is a genuine dispute over material facts. Hairston, 9 F.3d at

918. When reviewing a motion for summary judgment, a court must examine the evidence in the

light most favorable to the nonmoving party and all reasonable doubts and inferences should be

resolved in favor of the nonmoving party. Id.


Collateral Estoppel

       Plaintiff argues that collateral estoppel applies to the Superior Court Judgment and that

the facts decided in the Superior Court Judgment are sufficient to find the debt owed by

Defendant to Plaintiff non-dischargeable under 11 U.S.C. § 523(a)(2)(A). The doctrine of

collateral estoppel seeks “to prevent the re-litigation of issues previously contested and

determined by a valid and final judgment in another court.”         Newton v. Lemmons (In re

Lemmons), 2005 WL 6487216, at *2 (Bankr. N.D. Ga. 2005).               The doctrine of collateral

estoppel applies to non-dischargeability proceedings. See Grogan v. Garner, 498 U.S. 279, 284

n.11 (1991). When reviewing a state court judgment under the doctrine of collateral estoppel, “a

federal court must accord the judgment the same preclusive effect as it would be given under the

law of the state in which the judgment was rendered.” Lemmons, 2005 WL 6487216, at *2; see

also In re St. Laurent, 991 F.2d 672, 675-76 (11th Cir. 1993).

       This Court must turn to Georgia law to determine the preclusive effect of the Superior

Court Judgment against Defendant. Lewis v. Lowery (In re Lowery), 440 B.R. 914, 921-22

(Bankr. N.D. Ga. 2010) (citing Hebbard v. Camacho (In re Camacho), 411 B.R. 496, 501 (Bankr.

S.D. Ga.2009)). “While collateral estoppel may foreclose relitigation of issues decided in prior

judicial proceedings, the ultimate issue of dischargeability is a legal question over which the


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bankruptcy court has exclusive jurisdiction.” Id. (citations omitted). Under Georgia law, a party

may only assert the doctrine of collateral estoppel when the following elements have been

satisfied: (1) identity of the parties is the same; (2) identity of the issues is the same; (3) actual

and final litigation of the issue in question occurred; (4) the adjudication was essential to the

earlier action; and (5) the parties had a full and fair opportunity to litigate the issues in question.

In re Lemmons, 2005 WL 6487216, at *2. Each element will be addressed in turn.

        1. Identity of Parties

        The record clearly shows that Plaintiff and Defendant were parties to the Superior Court

litigation, so the parties are identical and the first element of collateral estoppel is satisfied.

        2. Identity of Issues

        To determine whether the second prong is met, the Court has to determine whether the

issues decided in the underlying judgment fall within the scope of the dischargeability provision

in question. Section 523(a)(2)(A) excepts from discharge “money, property, services, or an

extension, renewal, or refinancing of credit, to the extent obtained by…false pretenses, a false

representation, or actual fraud, other than a statement respecting the debtor’s or an insider’s

financial condition…” 11 U.S.C. § 523(a)(2)(A). The traditional elements of common law fraud

apply to section 523(a)(2)(A) claims. Wells Fargo Bank, N.A. v. Farmery (In re Farmery), 2014

WL 2986630, at *1 (Bankr. N.D. Ga. Apr. 11, 2014) (citing Field v. Mans, 516, U.S. 59, 70 n.9

(1995)). “Thus, to except a debt from discharge under Section 523(a)(2)(A), a creditor must

prove: (1) the debtor made a false representation to deceive the creditor, (2) the creditor relied on

the misrepresentation, (3) the reliance was justified, and (4) the plaintiff sustained a loss as a

result of the misrepresentation.” In re Farmery, 2014 WL 2986630, at *1 (citations omitted).




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       Similarly, the tort of fraud under Georgia law requires: (1) a false representation made by

the defendant; (2) which the defendant knew was false; (3) made with an intent to deceive the

plaintiff; (4) justifiable and detrimental reliance by the plaintiff on such representation; and (5)

damages suffered by the plaintiff as a result. In re Camacho, 411 B.R. at 505 (citing Crawford v.

Williams, 258 Ga. 806, 806 (1989)); Lister v. Scriver, 216 Ga.App. 741, 745 (1995); Lykins v.

Nationwide Mut. Ins. Co., 214 Ga.App. 577, 579 (1994)). The requirements for establishing “a

fraud claim under Georgia law [are] sufficiently identical to the elements require[d] for a

showing of fraud pursuant to 11 U.S.C. § 523(a)(2)(A),” to find an identity of issues. In re

Camacho, 411 B.R. at 506 (citing In re Whelan, 245 B.R. at 705-06).

       Though the Superior Court Judgment failed to include specific findings of fact, it did

grant judgment in Plaintiff’s favor “on all theories set forth in [the] Complaint.” When the

record is read as a whole, it is clear that Plaintiff raised issues of actual fraud, as opposed to

constructive fraud, in the Superior Court Complaint. Specifically, Plaintiff alleged that he was

induced to provide funds to the Superior Court Defendants based on representations that the

funds would be used for the construction of his house, when the Superior Court Defendants knew

that the funds would go toward general infrastructure development. Thus, Plaintiff alleged a

fraud based in misrepresentation. These allegations, and evidence related to these allegations,

were presented to the trier of fact who granted judgment in Plaintiff’s favor on all theories,

including the inducement theory. Therefore, the Court finds that an identity of issues exists

between the Superior Court lawsuit and the present Adversary Proceeding.

       3. Actually Litigated

       Although “Georgia case law does not disclose any analytical framework for determining

whether a matter was actually litigated” it is generally accepted that “when a question of fact is



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put in issue by the pleadings, is submitted to the trier of fact for its determination, and is

determined, that question of fact has been ‘actually litigated.’” In re Lowery, 440 B.R. at 923

(citing Lusk v. Williams (In re Williams), 282 B.R. 267, 272 (Bankr. N.D. Ga. 2002));

Community State Bank v. Strong, 651 F.3d 1241, 1267-68 (11th Cir. 2011).                The record

indicates that the issue of fraud was raised by Plaintiff in the Superior Court Complaint, the issue

was heard by the Superior Court in a bench trial and ultimately determined in the Superior Court

Judgment. Therefore, the Court finds the third prong of collateral estoppel is met.

       4. Essentiality

       The fourth prong “limits the doctrine’s applicability to ‘those issues that necessarily had

to be decided in order for the previous judgment to have been rendered.’” Allen v. Morrow (In

re Morrow), 508 B.R. 514, 522 (Bankr. N.D. Ga. 2014) (quoting Waldroup v. Greene Co. Hosp.

Auth., 265 Ga. 864, 866(2) (1995)). This prong “prevents judgments that rest on ambiguous

grounds from having issue preclusive effect.” Community State Bank v. Strong, 651 F.3d 1241,

1268 (11th Cir. 2011). “Therefore, when a judgment could be supported by two or more

grounds, and it does not specify the ground on which it rests, the ‘judgment cannot have issue

preclusive effect as to either issue, for either is definitively the ground of the judgment.’” In re

Morrow, 508 B.R. at 522 (quoting Strong, 651 F.3d at 1268)).

       Though the Superior Court Judgment could be supported by two or more grounds, the

judgment makes clear that it is supported by all three theories included in the Superior Court

Complaint. However, by granting judgment on all theories in the Superior Court Complaint, the

court appears to have allowed a recovery on both fraud and breach of contract, which is

impermissible under Georgia law for claims of fraudulent inducement. See Price v. Mitchell,

154 Ga. App. 523, 524 (1980); Rosenberg v. Mossman, 140 Ga. App. 694, 697 (1976).



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Therefore, it is unclear whether the damages in the judgment are attributable to the fraud count

from the Superior Court Complaint and if so, how much of the damage award is attributable to

fraud. It is possible that the damages are attributable solely to the breach of contract claim.

Accordingly, it appears that the Superior Court Judgment is ambiguous as to whether Plaintiff is

entitled to damages based on Defendant’s fraud. Because it is unclear whether any of the

damages are attributable to the fraud count in the Superior Court Complaint, the Court cannot

find that fraud was essential to the Superior Court Judgment. Accordingly, the fourth prong of

collateral estoppel is not satisfied.

        5. Full and Fair Opportunity to Litigate

        The full and fair opportunity prong is “rooted in due process concerns.” In re Lowery,

440 B.R. at 922 (citing Microfinancial, Inc. v. Delpiano (In re Delpiano), 2005 WL 6488906, at

*5 (Bankr. N.D. Ga. Mar. 22, 2010)). Defendant has not disputed that he had a “full and fair

opportunity” to litigate the issues determined in the Superior Court Judgment. To the contrary,

the record reflects that Defendant filed answers in response to the Superior Court Complaint,

indicating his participation in the matter. Therefore, the Court finds that the fifth prong is

satisfied.


                                            CONCLUSION

        Having reviewed the Motion, Defendant’s response and Plaintiff’s reply, along with all of

the documents in the record, the Court determines that while it is clear the Superior Court

rendered a judgment for fraud, it is unclear whether any damages were awarded to the Plaintiff

for the fraud and if so, how much.

        ORDERED that Plaintiff’s Motion is therefore DENIED.




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